Case 3:22-cv-03070-TSH Document 45-4 Filed 09/18/23 Page 1 of 3




                EXHIBIT B
                 Case 3:22-cv-03070-TSH Document 45-4 Filed 09/18/23 Page 2 of 3




From:                             Kennedy, Scott P. <Scott.P.Kennedy@usdoj.gov>
Sent:                             Wednesday, September 13, 2023 2:54 PM
To:                               VanDruff, Laura Riposo
Cc:                               Cowan, Zachary L.; Berman, Greg; Durrant, Rebecca
Subject:                          RE: time for short call?


Laura,

Thank you for your email. To clarify, Exhibit 011 to the Roque deposition (identified as Exhibit H in the
government’s recent filings in U.S. v. Twitter) was not provided to any current or former X Corp. employees by
the FTC, nor was that document discussed in the depositions identified in the government’s Motion to Consider
Whether Other Parties’ Material Should be Sealed. The Motion to Consider’s statement about “those
documents” referred to in the depositions, ECF No. 43 at 1, was intended to refer only to documents marked as
confidential by X Corp.

Best regards,

Scott P. Kennedy
Trial Attorney
U.S. Department of Justice
Civil Division, Consumer Protection Branch
(202) 305-1837
Scott.P.Kennedy@usdoj.gov

From: VanDruff, Laura Riposo <LVanDruff@KelleyDrye.com>
Sent: Tuesday, September 12, 2023 8:46 PM
To: Kennedy, Scott P. <Scott.P.Kennedy@usdoj.gov>
Cc: Cowan, Zachary L. <Zachary.L.Cowan@usdoj.gov>; Berman, Greg <GBerman@KelleyDrye.com>; Durrant, Rebecca
<RDurrant@kelleydrye.com>
Subject: [EXTERNAL] RE: time for short call?

Good evening, Scott.

Thank you for the service copy of the United States’ Motion to Consider Whether Other Parties’ Material Should be
Sealed.

In your filing, you state that Exhibit H to the Motion to Consider—which EY designated as confidential when it produced
the document to the FTC pursuant to 15 U.S.C. § 57b-2(b)(3)(C), and the confidence of which EY worked to maintain in X
Corp.’s action in the District Court of the District of Columbia and by my September 8, 2023 request that the Department
file a Motion to Consider—is “refer[ed] to in the depositions” of Seth Wilson, Andrew Sayler, Damien Kieran, and Lea
Kissner, who we understand to be current and former employees of Twitter (now X Corp.).

Will you please provide more information about the circumstances under which Exhibit H may have been shared with
Twitter’s employees or former employees? Of course, if I misunderstand the United States’ filing or if it would be easier
to discuss live, you are welcome to call me.

Kind regards,

                                                            1
               Case 3:22-cv-03070-TSH Document 45-4 Filed 09/18/23 Page 3 of 3
Laura

LAURA RIPOSO VANDRUFF

Kelley Drye & Warren LLP
Tel: (202) 342-8435
Cell: (703) 851-5867




                                              2
